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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
   Kelly L. Stephens            POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
         Clerk                      CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                                  Filed: January 30, 2025

Mr. Thomas J. Davis
Kienbaum, Hardy, Viviano, Pelton & Forrest
280 N. Old Woodward Avenue
Suite 400
Birmingham, MI 48009

Ms. Tamara L. Sobolewski
1002 Dakota Avenue
Lorain, OH 44052

                       Re: Case No. 25-3046, Tamara Sobolewski v. Ford Motor Company
                           Originating Case No. 1:24-cv-01396

Dear Counsel and Ms. Sobolewski,

    The briefing schedule listed below gives you the opportunity to present your issues to the
court in your own words. You may follow these requirements or use the simplified briefing form
which is enclosed. If you are an inmate in an institution, your brief will be considered timely if it
is deposited in your institution's mail on or before the filing date. The brief should include a
declaration under penalty of perjury or a notarized statement stating the date that the brief has
been deposited and that first-class postage has been paid. See Fed. R. App. P. 25(a)(2)(A)iii. If
you are not an inmate, your brief is considered timely if it is mailed to the clerk by first-class
mail, or dispatched to a commercial carrier for delivery to the clerk within three days, or received
in the court by the filing date indicated below. See Fed. R. App. P. 25(a)(2)(A)ii. If the brief is
filed late, the case is at risk of being dismissed for want of prosecution.

            Appellant's Brief                      1 signed original
            (Ms. Sobolewski)                       Limit of 30 pages or 13,000 words
                                                   Filed by March 14, 2025
              Case: 25-3046       Document: 5-1       Filed: 01/30/2025      Page: 2




    Citations in your brief to the lower court record must include (i) a brief description of the
document, (ii) the record entry number and (iii) the "Page ID #" for the relevant pages. When
citing a sealed document to which counsel has been denied access to the paginated version in the
lower court, please refer to the docket entry number and the page number of the document, e.g.,
Sealed RE 25, page 3. Consult 6 Cir. R. 28(a)(1).

            Appellee's Brief
                                                  Filed electronically by April 14, 2025
            Appendix (if required by
             6 Cir. R. 30(a) and (c)(2))

                                                  If multiple appellee briefs are filed,
            Appellant's Reply Brief               only one reply brief may be filed by
            (Optional Brief)                      appellants. The reply brief
                                                  is due no later than 24 days after
                                                  the last appellee brief is filed.

    For most appeals, the Court will access directly the electronic record in the district
court. However, to determine if this appeal requires an appendix and how to prepare it, read the
latest version of the Sixth Circuit Rules at www.ca6.uscourts.gov, in particular Rules 28 and 30.

   If you still have questions after reviewing the information on the web site, please contact the
Clerk's office before you file your brief.

                                                  Sincerely yours,

                                                  s/Robin L Baker
                                                  Case Manager
                                                  Direct Dial No. 513-564-7014

cc: Mr. Samuel Evert Endicott

Enclosure
